                                      Case 3:17-cv-03301-EMC Document 34 Filed 06/27/17 Page 1 of 2




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                           13

                           14                                      UNITED STATES DISTRICT COURT

                           15                                   NORTHERN DISTRICT OF CALIFORNIA

                           16

                           17 hiQ Labs, Inc.                                         Case No. 3:17-cv-03301-EMC

                           18                      Plaintiff,                        DECLARATION OF DEEPAK GUPTA IN
                                                                                     SUPPORT OF PLAINTIFF’S RENEWED
                           19              vs.                                       MOTION FOR TEMPORARY
                                                                                     RESTRAINING ORDER AND ORDER TO
                           20 LinkedIn, Corp.,                                       SHOW CAUSE RE: PRELIMINARY
                                                                                     INJUNCTION
                           21                      Defendant.
                                                                                     The Hon. Edward M. Chen
                           22
                                                                                     Hearing Date:     June 29, 2017
                           23                                                        Time:             1:30 P.M.
                                                                                     Location:         Courtroom 5, 17th Floor
                           24                                                                          450 Golden Gate Ave.
                                                                                                       San Francisco, CA 94102
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   Farella Braun + Martel LLP
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                                   Decl. of Deepak Gupta ISO Plaintiff’s Renewed                                     34556\6077733.1
235 Montgomery Street, 17 Floor
 San Francisco, California 94104
         (415) 954-4400
                                   Motion for TRO and Order to Show Cause Re:
                                   Prelim. Injunction - Case No. 3:17-cv-03301-EMC
                                      Case 3:17-cv-03301-EMC Document 34 Filed 06/27/17 Page 2 of 2




                              1            I, Deepak Gupta, declare as follows:

                              2            1.      I am an attorney duly admitted to practice before this Court. I am an attorney with

                              3 Farella Braun + Martel LLP, attorneys of record for Plaintiff hiQ Labs, Inc. I have personal

                              4 knowledge of the facts set forth herein. If called as a witness, I could and would competently

                              5 testify to the matters stated herein. I make this declaration in support of Plaintiff’s Renewed

                              6 Motion for Temporary Restraining Order and Order to Show Cause Re: Preliminary Injunction.

                              7            2.      Attached as Exhibit S is a true and correct copy of the Complaint in Sandvig v.

                              8 Lynch, Case No. 1:16-cv-01368 (D.D.C.), filed on June 29, 2016.

                              9            3.      Attached as Exhibit T is a true and correct copy of a video clip of LinkedIn CEO

                           10 Jeff Weiner’s appearance on CBS This Morning, which aired on June 21, 2017.

                           11              4.      Attached as Exhibit U is a true and correct transcript of portions of the video clip

                           12 attached as Exhibit T.

                           13              I declare under penalty of perjury under the laws of the State of California that the

                           14 foregoing is true and correct.

                           15              Executed on this 27th day of June, 2017, at San Francisco, California.

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                           17                                                         /s/ Deepak Gupta
                                                                                      Deepak Gupta
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